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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA :
                         :                  Case No.: 21-CR-41(CJN)
         v.              :
                         :
TERRY BROWN              :



             DEFENDANT’S SENTENCING MEMORANDUM


      AND NOW, this 24th day of November, 2021, comes Defendant, Terry

Brown, by and through his counsel, Terrence J. McGowan, Esquire and Sarah M.

Lockwood, Esquire, and respectfully requests this Honorable Court to grant the

relief requested, and in furtherance thereof submits this Sentencing Memorandum

pursuant to United States v. Booker, 125 S. Ct. 738 (2005) and 18 U.S.C.

§ 3553(a).
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I.    PROCEDURAL HISTORY AND BRIEF STATEMENT OF FACTS

      A.    Procedural History

      On or about January 7, 2021, a Criminal Complaint was filed in the above-

captioned matter, charging Defendant Terry Brown with Knowingly Entering or

Remaining in any Restricted Building or Grounds without Lawful Authority, With

Intent to Impede Government Business or Official Functions, Engaging in

Disorderly Conduct on Capitol Grounds, and Violent Entry and Disorderly

Conduct on Capitol Grounds. On January 15, 2021, a Criminal Information was

returned charging Mr. Brown with the following: Count 1 - Entering and

Remaining in a Restricted Building (18 U.S.C. § 1752(a)(1)); Count 2 - Disorderly

and Disruptive Conduct in a Restricted Building (18 U.S.C. § 1752(a)(2)); Count 3

- Violent Entry and Disorderly Conduct in a Capitol Building (40 U.S.C. §

5104(e)(2)(A)); and Count 4 - Parading, Demonstrating, or Picketing in a Capitol

Building (40 U.S.C. § 5104(e)(2)(G)).

      On January 28, 2021, Mr. Brown appeared before U.S. Magistrate Judge G.

Michael Harvey for his Initial Appearance and entered a plea of not guilty.

Magistrate Judge Harvey released Mr. Brown on general conditions of release.

      On September 10, 2021, Mr. Brown appeared before this Honorable Court

and entered a plea of Guilty to Count 4 of the Criminal Information. The

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remaining counts are to be withdrawn by the United States at the time of

sentencing. Pursuant to this Honorable Court’s directive, the United States

Probation Office submitted a Draft Pre-Sentence Investigation Report (“PSR”) to

the parties on October 27, 2021.

       Sentencing is presently scheduled before this Honorable Court on December

1, 2021 at 2:00 p.m. This Sentencing Memorandum is submitted in advance of

sentencing and addresses the factors enumerated in 18 U.S.C. § 3553(a).

       B.     Brief Statement of Facts

       On January 6, 2021, the United States Capitol was closed to the public as the

United States Congress met to certify the vote count of the Electoral College of the

2020 Presidential Election. On that same day, former President Donald J. Trump

was speaking at a “Save America” rally in Washington, D.C. whereby he claimed

that the 2020 Presidential Election was riddled with irregularities and fraud. At

some point towards the end of his speech, former President Trump indicated to the

crowd that they should go to the Capitol, specifically stating “we are going to walk

down Pennsylvania Avenue, I love Pennsylvania Avenue, and we are going to the

Capitol. . . .”

       On that date, Mr. Brown travelled alone to Washington, D.C. to attend the

“Save America” rally in support of former President Trump. He did not travel to

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Washington, D.C. with the intent to participate in any riot, disruption, or chaos.

Mr. Brown did not know that he would eventually end up at the Capitol. After

former President Trump instructed his followers to march on the Capitol, Mr.

Brown, swept up in the fervor of the moment, began walking towards the Capitol.

      When Mr. Brown finally arrived at the Capitol, the barricades were already

knocked down and many people were already inside. Mr. Brown was caught up in

the moment and made the unfortunate decision to enter the Capitol. Upon

entering, he witnessed several people throwing chairs and trash. Mr. Brown did

not participate in any violent or destructive behavior while inside the Capitol. In

fact, Mr. Brown can be seen in surveillance video picking up the scattered chairs.

At some point, Mr. Brown heard the sound of someone asking for help. He

proceeded to the lower level of the Visitor’s Center and observed a large group of

individuals. He made his way to the front of the crowd to attempt to persuade the

crowd to disengage the officers and retreat. Mr. Brown attempted to get the

attention of a police officer to ask if he could speak to the crowd. At that moment,

Mr. Brown was arrested.

II.   DISCUSSION

      A.     In Imposing a Sentence, the District Court must Undertake a
             Three-Step Process.



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      After United States v. Booker, 125 S. Ct. 738 (2005) and its progeny, Courts

are permitted to deviate from the otherwise applicable sentencing guidelines where

the guidelines yield a sentence that is inappropriate in light of the § 3553(a)

factors. “In the wake of Booker, it is essential that [for purposes of sentencing]

District Courts make an ‘individualized assessment based on the facts presented.’”

United States v. Tomko, 562 F.3d 558 (3d Cir. 2009) (quoting Gall v. United

States, 552 U.S. 38 (2007)).

      “After Booker, a District Court must undertake a three-step process in

imposing a sentence: (1) calculate the applicable Guidelines range, (2) formally

rule on any departure motions, and (3) exercise its discretion in applying the

factors set forth in 18 U.S.C. §3553(a).” United States v. Grier, 585 F.3d 138 (3d

Cir. 2009).

              1.    18 U.S.C. §3553(a) Factors

      18 USC §3553(a) requires this Honorable Court to formulate a sentence that

is “sufficient, but not greater than necessary”, using several specified factors.

Generally:

              (1)   the nature and circumstances of the offense and
                    the history and characteristics of the defendant;
              (2)   the need for the sentence imposed…;
              (3)   the kinds of sentences available;
              (4)   the kinds of sentence and the sentencing range
                    established…;

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            (5)    any pertinent (Sentencing Commission) policy
                   statement…;
            (6)    the need to avoid unwarranted sentencing
                   disparity…; and
            (7)    the need to provide restitution…

18 USC §3553(a).

      18 USC §3553(a)(2) mandates that a sentence should “reflect the seriousness

of the offense, to promote respect for the law, and to provide just punishment for

the offense…afford adequate deterrence to criminal conduct…to protect the public

from further crimes of the defendant; and…to provide the defendant with needed

educational or vocational training, medical care, or other correctional treatment in

the most effective manner.”

                   (a)    Characteristics of the Defendant

Personal Characteristics/Family

      Mr. Brown is a 70-year-old man who was raised in Lebanon, Pennsylvania

by his two (2) parents, Kermit Brown and Lillian Marks. Mr. Brown has one (1)

sibling, Garry Brown. Kermit and Lillian divorced when Mr. Brown was five (5)

years old, and he went to live with his maternal grandparents until he was ten (10)

years old. His brother, Garry, remained living with their mother. Lillian re-

married Clarence Marks and remained married to him until her passing in 1990.

Mr. Brown still maintains a positive relationship with his step-father, often

assisting him with household maintenance. Mr. Brown’s relationship with his
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father was sporadic, but okay. He was mostly raised by his mother, step-father,

and grandparents.

      Mr. Brown is engaged to Karen Zaporozec and they currently reside together

in Myerstown, Pennsylvania. The two have been romantically involved since

2013. Mr. Brown has three (3) adult children from a previous marriage.

Age

      Mr. Brown is 70 years old with no prior criminal history. Numerous studies

have been conducted that directly correlate age with the likelihood of re-offending.

Generally speaking, the greater the offenders’ age, the less likely they are to re-

offend.

      The fact that Mr. Brown is 70 years old and has not been previously

involved in the criminal justice system is illustrative. That fact alone tends to

indicate his criminal activity is a statistical anomaly. While the guidelines do not

apply to this case, USSG §5H1.1 indicates, “[a]ge may be relevant in determining

whether a departure is warranted, if considerations based on age, individually or in

combination with other offender characteristics, are present to an unusual degree

and distinguish the case from the typical cases covered by the guidelines.”




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      It is extremely unusual for an offender to be charged for the first time at the

age of 70. Besides being statistically unusual, it shows that Mr. Brown can be

safely maintained in the community with low risk of re-offending.

Employment-Work Ethic

      Mr. Brown has had a successful and productive employment history. He is

currently semi-retired and is working a part-time seasonal position for Jackson

Township, Lebanon, Pennsylvania, mowing grass and assisting in grounds

maintenance. Prior to his retirement, Mr. Brown worked for the City of Lebanon,

Pennsylvania as a public safety code inspector/enforcement. Prior to that

employment, Mr. Brown owned and operated two (2) restaurants and bars. From

his employment with these bars, Mr. Brown learned the skills necessary to calm

and control large crowds. This is what prompted him to attempt to get involved on

January 6, 2021, when he sought to speak to the crowd to diffuse the situation in

the Visitor’s Center.

                   (b)    Need for the Sentence Imposed

      As previously stated, a sentence should “reflect the seriousness of the

offense, to promote respect for the law, and to provide just punishment for the

offense…afford adequate deterrence to criminal conduct…to protect the public

from further crimes of the defendant.” 18 USC §3553(a)(2). It is respectfully


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submitted that a sentence of probation in this instance is appropriate to achieve the

overall policy goals outlined above. Mr. Brown has shown for 70 years, with

exception of one (1) day, that he is able to comply with the law. Since his arrest on

January 6, 2021, Mr. Brown has complied with his supervision requirements and

has avoided any further criminal conduct.

                   (c)    The Kinds of Sentences Available

      A violation of 40 U.S. C. §5104(e)(2)(G) is a misdemeanor punishable by up

to six (6) months of incarceration and/or a fine of not more than $5,000.00. The

Court may exercise discretion in sentencing Mr. Brown after considering the

factors contained in 18 U.S.C. §3553.

                   (d)     Sentencing Disparity

      Mr. Brown has several “co-Defendants” in this case: others included in his

Criminal Information whom he had never met prior to being arrested on January 6,

2021. When imposing a sentence, a Court shall consider “the need to avoid

unwarranted sentence disparities among defendants with similar records who have

been found guilty of similar conduct…” 18 USC §3553(a)(6). Mr. Brown’s “co-

Defendants” have all plead guilty and have all been sentenced. The sentences

received range from twenty-four (24) months’ probation to six (6) months of

incarceration. Mr. Brown is most similarly situated to co-Defendant, Thomas


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Gallagher, who received a sentence of twenty-four (24) months’ probation and

sixty (60) hours of community service. Much like Mr. Gallagher, Mr. Brown has

no criminal record, did not engage in any violent or disruptive behavior, and was

seen on video surveillance discouraging destructive behavior (Mr. Gallagher

admonished a person intending on throwing a chair, and Mr. Brown picked up a

chair that had been thrown).

      B.    Acceptance of Responsibility

      The correspondence from Mr. Brown attached to this Sentencing

Memorandum reveals a meaningful reflection of his misdeeds, not a manufactured

response to his current predicament. Moreover, Mr. Brown has manifested

remorse in his actions. Despite the Government’s anticipated inclusion of a

statement made by Mr. Brown to the press on the day following his arrest, after

having adequate time to reflect on his spontaneous act of entering the Capitol on

January 6, 2021, Mr. Brown is very sorry that he allowed himself to be caught up

in the moment, is very remorseful, and certainly would not repeat this conduct

were he given a second chance.

      C.    Cooperation

      Mr. Brown voluntarily sat down with investigators on January 11, 2021. At

that time, he provided truthful information to investigators and openly discussed

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his involvement on January 6, 2021. He has been cooperative throughout this

entire process.

III.   CONCLUSION

       Mr. Terry Brown respectfully submits that a probationary sentence would

adequately reflect the seriousness of the offense, promote respect for the law,

provide just punishment, afford adequate deterrence, and protect the public from

further crimes of the defendant. A probationary sentence would also be consistent

with sentences imposed on other similarly situated defendants involved with the

events of January 6, 2021,

                                              Respectfully submitted,

Dated: November 23, 2021                      /s/ Terrence J. McGowan
                                              Terrence J. McGowan, Esquire
                                              Attorney I.D. No. 39129
                                              KILLIAN & GEPHART, LLP
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                                              /s/ Sarah M. Lockwood
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                        CERTIFICATE OF SERVICE

      I, Terrence J. McGowan, Esquire, of the law firm of Killian & Gephart, do
hereby certify that I served a true and correct copy of the foregoing Sentencing
Memorandum on the following via electronic filing:


                              Seth Meinero, Esquire
           United States Attorney’s Office for the District of Columbia
                               555 4th Street NW
                            Washington, D.C. 20530

                               Susan Lehr, Esquire
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Dated: November 23, 2021                  /s/ Terrence J. McGowan
                                          Terrence J. McGowan, Esquire
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